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Counsel for the Official Committee of Unsecured Creditors

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                       )
In re:                                 )                               Chapter 11
                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1 )
                                       )
                  Debtor,                                              Case No. 19-34054-SGJ-11
                                       )
                                       )
OFFICIAL COMMITTEE OF UNSECURED
CREDITORS,                             )
                                       )
                  Plaintiff,           )
                                       )
       vs.                             )
                                                                       Adversary Proceeding No. 20-03195
                                       )
CLO HOLDCO, LTD., CHARITABLE DAF       )
HOLDCO, LTD., CHARITABLE DAF FUND, LP,
HIGHLAND DALLAS FOUNDATION, INC., THE )
DUGABOY INVESTMENT TRUST, GRANT        )
JAMES SCOTT III IN HIS INDIVIDUAL      )
CAPACITY, AS TRUSTEE OF THE DUGABOY )
INVESTMENT TRUST, AND AS TRUSTEE OF )

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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THE GET GOOD NONEXEMPT TRUST, AND                     )
JAMES D. DONDERO,                                     )
                                                      )
                     Defendants.                      )


   NOTICE OF HEARING FOR THE OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS’ MOTION TO FURTHER EXTEND THE STAY OF THE
         ADVERSARY PROCEEDING THROUGH OCTOBER 15, 2021

        PLEASE TAKE NOTICE that a hearing on the Motion to Further Extend the Stay of

 the Adversary Proceeding Through October 15, 2021 [Docket No. 70] (the “Motion to Extend

 Stay”) filed by the Official Committee of Unsecured Creditors’ (the “Committee”) in the above-

 captioned adversary proceeding is scheduled for hearing on Thursday, August 19, 2021 at 9:30

 a.m. (Central Time) (the “Hearing”).

        The Hearing on the Motion to Stay will be held before The Honorable Stacey G. C.

 Jernigan, United States Bankruptcy Court Judge, and will be conducted via WebEx

 videoconference. The WebEx video participation/attendance link for the Status Conference is:

 https://us-courts.webex.com/meet/jerniga.

        A copy of the WebEx Hearing Instructions for the Hearing is attached hereto as Exhibit

 A; alternatively, the WebEx Hearing Instructions for the Hearing may be obtained from Judge

 Jernigan’s   hearing/calendar   site   at:   https://www.txnb.uscourts.gov/judges-info/hearing-

 dates/judgejernigans-hearing-dates.

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                                     SIDLEY AUSTIN LLP

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                                      -and-

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                                      of Unsecured Creditors
